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Pro Se J (Rev. 09/16) Complaint for a Civil Case _

OCT Lh ew3:34

UNITED STATES DISTRICT COURT
for the

District of Massachusetts

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LE MARR TALLEY
, (Case ID Number)

Plaintiff

-VS-

COMMONWEALTH OF
MASSACHUSETTS((D.O.C.)/BERKSHIRE
AND HAMPDEN
COUNTIES/(B.C.H.C/H.C.H.C), PITTSFIELD
POLICE DEPARTMENT, MICHAEL J.
WYNN, CITY OF PITTSFIELD, KATHLEEN
DEGNAN, DAN BIANCHL, LINDA TYER,
ROBERT W. KINZER, ANNE
KACZMERACK, KAREN FOSTER, MARTHA
COAKLEY, JOHN VERNER and ANDREA
HARRIGTON

 

Defendants

AFFIDAVIT

I, Le Marr Talley, of Pittsfield, in Berkshire, Massachusetts, MAKE OATH AND SAY THAT:

1. 2004 - 90 days committed to Hampden County House of Corrections
(0423CR07475/0423CR1 1977) Dismissed/Sealed

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Solitary Confinement
Sonja Farak (convicted drug chemist)

2. 2006 - lyr committed to Hampden House of Corrections
(0623CR12668) Vacated
Solitary Confinement
Sonja Farak (convicted drug chemist)

3. 2007 - lyr committed to Hampden County House of Corrections
(0723CR02014) Dismissed/Sealed
Solitary Confinement
Sonja Farak (convicted drug chemist)

4. 2010 - lyr committed to Berkshire County House of Corrections
(1027CR2054) Dismissed w/ Prejudice per SJC/Sealed
Solitary Confinement
Sonja Farak (convicted drug chemist)

5. 2011-2 1/2yr committed to Berkshire County House of Corrections
(1176CR00134) Assent to Dismiss/Sealed
Solitary Confinement
Sonja Farak (convicted drug chemist)
Subsequent Offense enhacements (2015)

6. 2014 - 2 1/2yr to 3yr committed to Massachusetts Department of Corrections
18mo at Souza Baronowski (no violent offenses)
Solitary Confinement
Maximum Security Prison
No relief from prior tainted cases by Sonja Farak (2004 - 2011)

7. 2015 - 3 1/2 yr to Syr committed to Massachusetts Department of Corrections
18mo at Souza Baronowski (no violent offenses)
Maximum Security Prison
Subsequent Enhancements (1176CR00134)
Re-Sentenced 2018 to 2 1/2yr to 3yr.

8. 2011 - 2013 - Pittsfield Police Department
Issues Order of Protection per City of Pittsfield
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Violated and Deprived Civil Rights

Violated Massachusetts Procedure Act 30A/Municipal Police Institute
Violated Due Process Laws

Fraudulent Search and Seizure Policy/MPI

Botched Arrest

Exhausted Commonwealth Administrative Remedies.

9.2011 - Present - City of Pittsfield
No record of open meeting laws to establish search and seizure policies and procedure used
Correspondences to Senator Kerry/Secretary William Galvin, etc.
Negligent of use of search and seizure policy and procedures
Exhausted Commonwealth Administrative Remedies.

10. 2014 - Present - Linda Tyer, Mayor of Pittsfield

Clerk when two complaints were made to the City of Pittsfield(MPI/Search and Seizure Policy
and Procedure)

Will not meet to remedy violations of civil rights and compensation
Trespass orders issued

Exhausted all Commonwealth Remedies.

11. 2019 - Andrea Harrington, District Attorney
March 15, 2019 - promised resolution, relief and release of funds

March 22, 2019 - was held from initial meeting, intimidated and discourage by State Troopers
Jones and Di Santis

Katina Burt - witness/affidavit/audio recording

Will not to remedy violations of civil rights and compensation
Exhausted all Commonwealth Remedies.

12. 2011 - Dan Bianchi, Mayor of Pittsfield(2012-2016)
Several meetings held about Pittsfield Police Department use of MPI policy and procedures
Would not remedy violations of civil rights and compensation
Exhausted all Commonwealth Remedies.

13. 2004 - Present Sonja Farak, state chemist
All above cases affected by tainted chemist
(Most cases of any individual in the state)
Convicted 2014 - tampering with evidence, use of controlled substance
Testimony AGO Hearing 2015 to misconduct at Amherst drug Lab.
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14. 2017 - Anne Kaczmarek, Assistant Attorney General Office
Withheld exculpatory evidence of Amherst Drug Lab Scandal
Various violations of procedural administration of justice/J.Kinder
Board of Bar of Overseers found misconduct(2021)

15.2017 - Karen Foster, Assistant Attorney General Office
Withheld exculpatory evidence of Amherst Drug Lab Scandal
Various violations of procedural administration of justice/J.Kinder
Board of Bar of Overseers found misconduct(2021)

16, 2017 - John Verner, Assistant Attorney General Office
Withheld exculpatory evidence of Amherst Drug Lab Scandal
Various violations of procedural administration of Justice/J.Kinder
Board of Bar of Overseers found misconduct(2021)

17. 2017 - Martha Coakley, Attorney General Office
Withheld exculpatory evidence of Amherst Drug Lab Scandal
Various violations of procedural administration of Justice/J.Kinder
Board of Bar of Overseers found misconduct(2021)

18. 2011 - 2015 - Robert W. Kinzer, Assistant District Attorney
Prosecutor on all Berkshire County case convictions
Unagreed plea colloquy two weeks before Amherst Drug Lab Scandal(2013)
Knowledgeable of Fraudulent search and seizure policies and procedures from MPI used by
Pittsfield Police Department.

19. 2011 - Present - Michael J. Wynn, Chief of Police of Pittsfield

Moved City of Pittsfield to file Order of Protection on
search and seizures subpoena @ Subpoena
Hearing April 5, 2012

internal Affairs Complaints filed
Several meetings regarding violations

of civil rights and deprivation of rights
Directed and allowed fraudulent policy and procedures on search and seizures(MPI) to be
submitted to court as evidence Violated Massachusetts Administrative Procedure
Act 30A
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20. 2012 - Present - Kathleen Degnan, City Solicitor Pittsfield
Filed and submitted to the courts fraudulent policy and
procedure on search and seizures(MPI) Represented City
of Pittsfield @ subpoena hearing April 5, 2012
No cause shown

21. 2020 - Jeanne Kempthorne, Assistant District Attorney, Chief of Appeals
Responded to motion on release of funds
Resigned from
District Attorneys Office
Whistleblower on Harrington misconduct

22.2021 - Helen Moon, Ward 1 City Councilor
Fired by Harrington
Whistleblower on
Harrington misconduct

UNITED STATES DISRTICT COURT
OF

COMMONWEALTH OF MASSACHUSETTS

SUBSCRIB D AND SWORN TO BEFORE
ME, on the #tst day of October, 2021 (Signature)

Le Marr Talley
Signature
(Seal)
NOTARY PUBLIC

My Commission expires:

 

 

 

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